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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             April 22, 2024      Prob./Pret.: Seth Junker
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD           Counsel:

 UNITED STATES OF AMERICA,                     Bryan D. Fields
                                               Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                         Jason D. Schall
 and                                           Kristen M. Frost
 2. KIMBERLEY ANN TEW,                         David S. Kaplan
                                               Jamie H. Hubbard
              Defendants.



                               COURTROOM MINUTES


 DETENTION HEARING

 10:30 a.m.   Court in session. Defendants present, on bond.

 Appearances of counsel.

 Court’s opening remarks.

 Discussion regarding witnesses to be called and objection by Mr. Kaplan.

 [450] Government’s Motion for Detention Pending Sentencing is raised for argument.


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 10:50 a.m.   Government’s witness Seth Junker sworn.

              Direct examination by Government by Ms. Weiss.

 11:03 a.m.   Cross examination by Defendant Michael Aaron Tew by Mr. Schall.

 11:08 a.m.   Cross examination by Defendant Kimberley Ann Tew by Mr. Kaplan.

 11:12 a.m.   Re-direct examination by Government by Ms. Weiss.

 11:15 a.m.   Government’s witness Lisa Palmer sworn.

              Direct examination by Government by Ms. Weiss.
              Exhibit(s) identified: 2, 9, 10, 8, 7, 6, 3, 5, 11, 1, 12

 Exhibit(s) 2 RECEIVED.

 12:08 p.m.   Bench conference regarding issue raised by Mr. Schall.

 12:12 p.m.   Court in recess.

 12:28 p.m.   Court in session.

              Government’s witness Lisa Palmer resumes.

 12:29 p.m.   Cross examination by Defendant Michael Aaron Tew by Ms. Frost.

 12:37 p.m.   Cross examination by Defendant Kimberley Ann Tew by Ms. Hubbard.

 12:47 p.m.   Re-direct examination by Government by Ms. Weiss.
              Exhibit(s) identified: 2

 12:52 p.m.   Government rests.

 12:58 p.m.   Statement by Mr. Junker regarding additional conditions that could be
              imposed.

 Argument by Ms. Weiss, Ms. Hubbard, Mr. Schall.

 ORDERED: [450] Government’s Motion for Detention Pending Sentencing is DENIED,
          but the Court will impose additional conditions of bond.

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             Court indicates that a written order shall follow.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 1:21 p.m.   Court in Recess. HEARING CONCLUDED. TOTAL TIME: 2:29




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